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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA



IN RE:                                )
                                      )          MDL No. 1674
COMMUNITY BANK OF NORTHERN            )          Case No.
VIRGINIA AND GUARANTY BANK            )          03-425
SECOND MORTGAGE LITIGATION            )


Gary L. Lancaster,
District Judge.                                        January 25, 2008

                           MEMORANDUM and ORDER

            This is a putative class action alleging violations of

the Real Estate Settlement Procedures Act, 12 U.S.C. § 2607,

(“RESPA”), the Racketeering Influenced Corrupt Organizations Act,

18 U.S.C. §§ 1962(c), (d), (“RICO”) and related state law claims.

Before    the     court   are   the      Settling   Parties’    Motion   for

Certification of a Settlement Class and Approval of Proposed

Modified Settlement [Doc. No. 225], and the Objectors’ Renewed

Motion to Intervene [Doc. No. 284].             For the reasons set forth

below, the court will deny the Objectors’ Renewed Motion to

Intervene,      grant     the   Motion     to   Certify   the   Class    and

preliminarily approve the settlement.           The Settling Parties will

be required, however, to submit a proposed plan for notice

pursuant to Fed.R.Civ.P. 23(e) within ten (10) days.




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           I.    Class Description

                 For the purpose of clarity, we will refer to the

various parties in the same manner as did the court of appeals in

its       August   11,    2005   opinion.       Accordingly,   the    individuals

represented by the law firms Carlson & Lynch, and Richardson,

Patrick, Westbrook & Brickman               will be referred to as the “Class

Plaintiffs.”1            The individuals represented by the law firms

Walters Bender Stroebhen & Vaughn, the Law Offices of Franklin R.

Nix, The Sharborough Law Firm and the Legg Law Firm will be

referred to as the “Objectors.”                 Defendants Community Bank of

Northern Virginia (“CBNV”), Irwin Union Bank and Trust, Guaranty

National Bank of Tallahassee (“GBNT”) and its successor the

Federal Deposit Insurance Corporation (“FDIC”) and the GMAC

Residential Funding Corporation will be referred to collectively

as “defendants.”

                 The   Class     Plaintiffs     and   defendants     (hereinafter

“Settling Parties”) seek certification of the following class:

                 All persons:

                 (I)     who entered into a loan agreement with CBNV
                         and/or GNBT;

      1
                The class plaintiffs are : Brian and Carla
                Kessler, Ruth J. Davis, John and Rebecca Picard,
                Nora Miller, William and Ellen Sabo, Robert and
                Rebecca Clark, Edward Kruska, Russell and Kathleen
                Ulrich, Thomas Mathis, Stephen and Amy Haney, and
                Patrice Porco.

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               (ii)  whose loan was secured by a second mortgage deed
                     or trust on property located in the United
                     States;
               (iii) whose loan was purchased by RFC; and
               (iv)  who were not members of the class certified in
                     the action captioned Baxter v. Guaranty National
                     Bank, et al., Case No. 01-CVS-009168, in the
                     General Court of Justice, Superior Court
                     Division of Wake County, North Carolina.


         II.     Background

               A.    Factual Background

               The    court   of   appeals   succinctly   summarized   the

underlying facts in this case in its opinion in this matter, In

re Cmty. Bank of N. Virginia, 418 F.3d 277, 283-84 (3d Cir.

2005).         Accordingly, there is no need to repeat them here.

Suffice it to say that this matter concerns several actions

“alleging an illegal home equity lending scheme against two

banks,” CBNV and GNBT, “and a company that acquired second

mortgage loans from those banks in the secondary market,” RFC.

Id. at 283.

               B.    Procedural Background

               1.      The Complaints

               A chronology of the multitude of complaints filed by

Class Plaintiffs and the Objectors in this matter is set forth in

this court’s October 6, 2006 Memorandum [Doc. No. 223] and is

incorporated herein by reference.
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               2.    The Original Settlement

               On July 14, 2003, Class Plaintiffs and CBNV, GNBT and

RFC filed a joint motion for preliminary approval of a proposed

nationwide class action settlement.                The proposed settlement

allocated payments to class members based upon: (1) when the loan

closed; and (2) the borrower’s state of residence when they

obtained the loan. The proposed settlement guaranteed each class

member    a    minimum   payment   of       $250.00.      In   addition,     upon

submission of a claim form, some class members would be eligible

for an additional $302.00.          The maximum payment to any class

member was $925.00.      Defendants agreed to pay an aggregate amount

of   up   to    $33,000,000.00.         Defendants      also   agreed   to    pay

$8,100,00.00 in attorneys’ fees.

               On July 17, 2003, this court preliminarily approved the

settlement and consolidated the above cases at Civil Action No.

03-425.       This court further ordered that notice of the proposed

settlement be sent to the class.                 On November 10, 2003, a

Consolidated Amended Class Action complaint, joining all named

Class     Plaintiffs,    was   filed     against       CBNV,   GNBT   and    RFC.

Following a fairness hearing, this court approved the settlement

on December 4, 2003.

               The Objectors appealed and challenged “nearly every

aspect of the proceedings in the District Court.”                 In re Cmty.


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Bank, 418 F.3d at 298.            The court of appeals reversed, remanded,

and directed this court to “pay particular attention to the

prevalence of colorable TILA, HOEPA, and other claims that the

individual class members may have which were not asserted by

class counsel in the consolidated complaint (or presumably in

settlement negotiations).”            Id. at 310.

            3.        Proceedings on Remand

            In In re Cmty. Bank, the court of appeals held that

this court did not adhere to the requirements of Fed.R.Civ.P. 23

in certifying a class and/or in approving the settlement.                       Among

other things, the court of appeals held that the settlement may

not be fair and the representation may not be adequate because

class members may have “viable” claims under the Truth in Lending

Act   (“TILA”),      as   amended     by    the   Home   Ownership      and    Equity

Protection Act (“HOEPA”), 15 U.S.C. § 1601 et seq.                  The Objectors

had   argued     that     these    claims      were   not   pled   by    the    named

plaintiffs     and    were   not     adequately       compensated       for   in   the

proposed settlement.         The court of appeals further held that this

court should, on a fully developed record, analyze the Objectors’

motion to intervene as of right under Fed.R.Civ.P. 24(a).

            Upon remand, this court held a status conference on

November 4, 2005.         After discussion with all interested parties,

this court determined that the question of viability of the


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TILA/HOEPA claims would be addressed prior to the question of

whether the settlement would be preliminarily approved. Notably,

at the status conference, the Objectors orally withdrew their

motion to intervene.         After extensive briefing and oral argument

by all interested parties, we determined that the individual

class    members    did    not     have    viable    TILA/HOEPA      claims.    See

Memorandum dated 10/6/2006 [Doc. No. 223].

            4.       The New Settlement

            Prior     to    the    court’s       viability    determination,     the

Settling    Parties       continued       negotiations.        Specifically,     the

Settling Parties retained the Honorable Timothy K. Lewis, United

States Court of Appeals for the Third Circuit, (Ret.), as a

mediator.    The Settling Parties, after a number of meetings with

Judge Lewis, negotiated a new settlement agreement.                      The class

definition did not change.                The Settling Parties maintain that

“[w]ithout conceding ... the viability of any purported claims

the Modification provides an opportunity for Class Members to

obtain    significant       additional          benefits,    which   Class   Counsel

negotiated based upon the assumption ... that some borrower(s)

might be able to overcome a motion to dismiss the TILA/HOEPA

claims under Federal Rule of Civil Procedure 12(b)(6).”                        Joint

Motion     for   Approval         of   Modified      and     Enhanced   Settlement

Agreement, [Doc. No. 225] at paragraph 5.


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            Pursuant to the new settlement, the class members would

be eligible to receive an additional payment of $332.00 upon

submission of a properly completed claim form.                  The defendants

agreed to pay up to an additional $14,600,000.00 to the class for

a total potential payment of up to $47,600,000.00.                  The Settling

Parties    also   agreed   that     defendants      will   create    a   fund   of

$7,500,000.00 for attorneys’ fees and costs.                Thereafter, Class

Counsel would petition the court for an award of fees not to

exceed $7,500,000.00.        Defendants further agreed, if the court

orders, to pay an additional $2,500,000.00 in attorneys’ fees.

            The Objectors oppose the new settlement for many of the

same reasons they opposed the original settlement. Specifically,

the Objectors contend that the Class Plaintiffs are inadequate

representatives.      The Objectors argue that the Class Plaintiffs

have failed to assert viable claims in exchange for defendants’

agreement    not     to    oppose     Class       Plaintiffs’    request        for

$7,500,000.00 in fees.       Although the Objectors concede that the

proposed class satisfies most of the Rule 23 requirements, their

primary argument is that the named representatives, and their

counsel,    are    inadequate     under    Rule    23(a)(1).        Fed.R.Civ.P.

23(a)(1).




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         III.    STANDARD OF REVIEW

                It is Class Plaintiffs’ burden to prove that this

action satisfies all the requirements of Rule 23(a) and at least

one of the requirements of Rule 23(b).              Johnston v. HBO Film

Mgmt., Inc., 265 F.3d 178, 183-84 (3d Cir. 2001).                   Rule 23(a)

provides that a class may only be certified if: (1) the class is

so numerous that joinder of all members is impracticable; (2)

there are questions of law or fact common to the class; (3) the

claims or defenses of the representative parties are typical of

the claims or defenses of the class; and (4) the representative

parties will fairly and adequately protect the interests of the

class.    Fed.R.Civ.P. 23(a).

                Here,   plaintiffs   seek    certification       under    Rule

23(b)(3). Rule 23(b)(3) provides that certification is proper if

the court finds that “questions of law or fact common to the

members of the class predominate over any questions affecting

only   individual       class   members,   and   that   a   class   action   is

superior to other available methods for the fair and efficient

adjudication of the controversy.”           Fed.R.Civ.P. 23(b)(3).

                Although a class certification decision requires a

thorough examination of the factual and legal allegations, “[i]n

determining the propriety of a class action, the question is not

whether the plaintiff or plaintiffs have stated a cause of action


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or   will    prevail     on   the    merits,      but    rather    whether      the

requirements of Rule 23 are met.”             Eisen v. Carlisle & Jacquelin,

417 U.S. 156, 178 (1974)(citation omitted).

             In the context of settlement-only class certification,

the Supreme Court has noted that “a district court need not

inquire whether the case, if tried, would present intractable

management problems ... .”           Amchem Prods., Inc. v. Windsor, 521

U.S. 591, 620 (1997).             The court of appeals has stressed,

however, that “regardless of whether a district court certifies

a class for trial or for settlement, it must first find that the

class satisfies all the requirements of Rule 23.”                  In re Cmty.

Bank, 418 F.3d at 300.        The court of appeals directed that “[i]n

making this analysis, the district court may take the terms of

the proposed settlement into consideration ... [t]he central

inquiry, however, is the adequacy of representation.”                 Id.

       IV.    DISCUSSION

             A.   Procedural Posture

             At   the   outset,     the   Settling      Parties   appear   to    be

arguing that the court of appeals’ decision merely vacated this

court’s December, 2003, final certification order [Doc. No. 107].

Thus, the Settling Parties seem to contend that the class remains

conditionally certified pursuant to this court’s July, 2003

conditional certification order, [Doc. No. 8], and the court may


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proceed to a final fairness hearing pursuant to Fed.R.Civ.P.

23(e).     The Objectors argue that the case was never properly

certified and, thus, the class members’ due process rights would

be violated in the absence of a full analysis under Rule 23.

            The court of appeals repeatedly noted that a class was

never properly certified in this matter, for settlement purposes

or otherwise.       The court of appeals first noted that “[o]ur

review of the record makes plain that the District Court did not

engage in the Rule 23(a) and (b) inquiry required by Amchem.”

See In re Cmty. Bank, 418 F.3d at 300.            The court of appeals

further noted that “the settlement-only class was never properly

certified in accordance with Amchem.”         Id. at 301.    The court of

appeals concluded that, as a result, “[w]ithout certification

there is no class action, and in a settlement entered without

class certification the judgment will not have res judicata

effect on the claims of absent class members.”                Id. at 303

(quoting In re Gen. Motors Corp. Pick-Up Truck Fuel Tank Prod.

Liab. Litig., 55 F.3d 768, 800 (3d Cir. 1995)).

            Thus, the question now before the court is whether the

proposed settlement class meets the requirements of Fed.R.Civ.P.

23 and whether the modified settlement is within the range of

reasonableness justifying preliminary approval.




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       A.    Rule 23(a)

             The    court   of   appeals    has   noted   that    “Rule   23   is

designed to assure that courts will identify the common interests

of class members and evaluate the named plaintiffs’ and counsel’s

ability to fairly and adequately protect class interests.”                 In re

Cmty. Bank, 418 F.3d at 302 (citation omitted).                  In order for a

class to be certifiable under Rule 23(a), it must meet four

requirements: (1) numerosity; (2) commonality; (3) typicality;

and (4) adequacy of representation.           Id.   If the court finds that

the proposed class satisfies the four requirements of Rule 23(a),

the court must then determine whether the class fits within one

of the categories set forth in Rule 23(b).                   Id.     Here, the

parties seek certification pursuant to Rule 23(b)(3).                       Rule

23(b)(3) requires the court to examine whether common questions

of   law    or    fact   predominate   and    whether     “the    class   action

mechanism is the superior method for adjudicating the case.”                   Id.

             1.    Numerosity

             The court of appeals found that the prior proposed

class, comprised of 44,000 borrowers, was sufficiently numerous.

Id. at 303.        The class definition has not changed.            Thus, it is

clear that the proposed class satisfies Rule 23(a)(1).




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            2.    Commonality and Typicality

            As the court of appeals has opined “[t]he concepts of

commonality      and    typicality   are    broadly     defined   and    tend   to

merge.”    In re Cmty. Bank, 418 F.3d at 303 (citation omitted).

Further, “[c]ases challenging the same unlawful conduct which

affects both the named plaintiffs and the putative class usually

satisfy the typicality requirement irrespective of the varying

fact patterns underlying the individual claims.”                  Id.(citation

and internal quotation omitted).

            In this matter, the court of appeals concluded that

“[b]ecause the claims of all class members here depend upon the

existence of the Shumway scheme, their interests are sufficiently

aligned [such] that the class representatives can be expected to

adequately pursue the interests of the absentee class members.”

Id. (citations and internal quotations omitted). Defendants have

agreed, for settlement purposes only, that the class satisfies

Rule 23(a)(2) and 23(a)(3).          Accordingly, this court finds that

the requirements of Rule 23(a)(2) and Rule 23(a)(3) have been

met.

            3. Adequacy

            The    Rule     23(a)(4)        requirement    of     adequacy      of

representation         actually   encompasses     two     distinct      inquiries

designed to protect the interests of absent class members.                  In re


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Cmty. Bank, 418 F.3d at 303.      Specifically, “it considers whether

the named plaintiffs’ interests are sufficiently aligned with the

absentees’, and it tests the qualifications of the counsel to

represent the class.”       Id. (citation omitted).      As noted above,

the Class Plaintiffs’ claims are typical of the class and there

is no apparent conflict of interest.        Further, Class Plaintiffs’

counsel are well known to the court as experienced and zealous

consumer class action advocates.

            The dispute regarding adequacy of representation in

this case turns on the “prevalence of colorable TILA, HOEPA, and

other claims that the individual class members may have which

were not asserted by class counsel in the consolidated complaint

(or presumably in settlement negotiations).”          Id. at 310.2   This

court, after extensive briefing, determined that the class had no

viable TILA/HOEPA claims. The viability analysis in this court’s




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           Recently, the Objectors have argued that the
           settlement is infirm because the Settling Parties
           failed to adequately compensate the class for the
           RICO claims.   Class counsel did, however, assert
           RICO claims in the consolidated complaint.      The
           court of appeals clearly assumed that these claims
           were   part   of   the   settlement   negotiations.
           Accordingly, it is only the viability and valuation
           of the TILA/HOEPA claims, which were not asserted
           in the consolidated complaint, that are relevant to
           the question of adequacy of representation.

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Memorandum of October 6, 2006 [Doc. No. 223] is incorporated by

reference as if full set forth herein.3

               The Objectors argue that each class member may be

entitled to significantly more relief than provided for in the

new       settlement.    Thus,   the     Objectors    claim,   the   recovery

contemplated      by    the   Settling      Parties   is   inadequate.    The

Objectors have calculated potential damages assuming, inter alia,

that TILA/HOEPA claims for rescission are amenable to class-wide

relief. This court thoroughly analyzed the TILA/HOEPA claims for

rescission in its previous memorandum and held that these claims

were subject to a statute of repose and were, therefore, time-

barred.

               In addition, although the Court of Appeals for the

Third Circuit has not addressed this issue, other courts of

appeal have held that claims for rescission are purely personal

in nature and, therefore, are not appropriately asserted in class

actions. In McKenna v. First Horizon Home Loan Corp., the Court

of Appeals for the First Circuit held that class certification is

not available for rescission claims under TILA.              McKenna v. First



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           Accordingly,    the    Objectors’    Motions    for
      Reconsideration, [Doc. No. 235], to Certify Memorandum
      for Interlocutory Appeal [Doc. No. 236], to Amend or
      Correct [Doc. No. 266] and For Ruling on Pending Motions
      [Doc. No. 282] will be denied as MOOT.

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Horizon Home Loan Corp,, 475 F.3d 418, 423 (1st Cir. 2007).               In

McKenna, the court of appeals engaged in an extensive analysis of

TILA’s statutory scheme.        The court of appeals, relying on the

Court of Appeals for the Fifth Circuit’s decision in James v.

Home Constr. Co. of Mobile, Inc., 621 F.2d 727, 731 (5th Cir.

1980), held that “as a matter of law, class certification is not

available for rescission claims, direct or declaratory, under the

TILA ... .”       McKenna, 475 F.3d at 423.        The court of appeals

specifically concluded that “Congress did not intend recission

suits to receive class-action treatment.”              Id. Following this

reasoning, we would also conclude that even if any class member

had timely filed a personal TILA/HOEPA claim for rescission, he

or she could not assert this claim on a class-wide basis.

            Accordingly, the Class Plaintiffs’ failure to assert

TILA/HOEPA claims in the consolidated amended complaint does not

render them inadequate representatives.          Because we have already

found   that     Class   Plaintiffs’    claims   are   typical   and   Class

Plaintiffs’ counsel are qualified, the requirements of Rule

23(a)(4) are met.

            B.    Rule 23(b)(3)

            As set forth above, the parties seek certification

pursuant to Rule 23(b)(3).        Rule 23(b)(3) requires the court to

examine whether common questions of law or fact predominate and


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whether “the class action mechanism is the superior method for

adjudicating the case.”         In re Cmty. Bank, 418 F.3d at 302.

              1.   Predominance

              “The predominance inquiry tests whether the proposed

class    is   sufficiently      cohesive   to   warrant    adjudication   by

representation.”      Id. at 308-09(citation omitted).           Thus, “[i]n

this vein, a predominance analysis is similar to the requirement

of   Rule     23(a)(3)   that     claims   or   defenses    of   the   named

representatives must be ‘typical of the claims [or] defenses of

the class.’” Id. (quoting Amchem, 521 U.S. at 623 n.18).                  As

noted above, the claims all arise from the substantially similar

factual predicate.       Thus, the court finds that the Rule 23(b)(3)

requirement that “questions of law or fact common to the members

of the class predominate over any questions involving individual

class members” has been satisfied.          Fed.R.Civ.P. 23(b)(3).

              2.   Superiority

              Rule 23(b)(3) lists the following factors as relevant

to the question of whether a class action is superior to other

forms of litigation, including:

        (A) the interest of members of the class is
        individually controlling the prosecution or defense of
        separate actions; (B) the extent and nature of any
        litigation concerning the controversy already commenced
        by or against members of the class; (c) the
        desirability or undesirability of concentrating the
        litigation of the claims in the particular forum; (D)


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       the difficulties likely to be          encountered      in   the
       management of a class action.”

       Fed.R.Civ.P. 23(b)(3).

The superiority inquiry requires this court “to balance, in terms

of fairness and efficiency, the merits of a class action against

those of alternative available methods of adjudication.”              In re

Cmty. Bank, 418 F.3d at 309.       (citations and internal quotations

omitted).      All relevant factors support a finding that          a class

action is superior to other forms of litigation in this case.             As

the court of appeals concluded, “[w]e find no reason...why a Rule

23(b)(3) class action is not a superior means to adjudicate this

matter.”      Id. at 310.

              C.   The Proposed Settlement

              Rule 23(e)(1)(A) provides that “[a] class action shall

not be dismissed or compromised without approval of the court...”

Final approval of a class action settlement requires a finding

that    the    settlement   is   “fair,    reasonable    and    adequate.”

Fed.R.Civ.P. 23(e)(1)(c).        At this juncture, however, the court

must only make “a preliminary determination on the fairness,

reasonableness, and adequacy of the settlement terms and must

direct the preparation of notice of the certification, proposed

settlement, and date of the final fairness hearing.”            Manual for

Complex Litigation (Fourth, § 21.632 (2004).            Accordingly, the

question is not whether the settlement merits final approval.

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Rather,    the   only   question   before   the   court    is    whether   the

settlement “discloses grounds to doubt its fairness or other

obvious deficiencies such as unduly preferential treatment of

class representatives or segments of the class, or excessive

compensation of attorneys, and whether it appears to fall within

the range of possible approval.”         Mehling v. New York Life Ins.

Co., Civ. No. 99-5417, 2007 WL 3145344 at *1 (E.D. Pa. Oct. 24,

2007) (citation omitted).

            The Settling Parties submit that this settlement meets

the requirements for preliminary approval because it is the

product of arm’s-length negotiation by experienced counsel who

are fully familiar with all aspects of class action litigation.

The parties further submit that the settlement is within the

range of possible approval in light of the substantial risks of

continued    litigation.      As   set   forth    above,   the    settlement

provides for up to $44,000,000.00 in relief with each class

member eligible for recovery ranging from a minimum of $250.00 to

a maximum of $1,257.00

            The court finds that the settlement merits preliminary

approval.    The court concludes that the settlement was reached as

a result of arm’s-length negotiation between experienced counsel

aided by an experienced mediator and is within the range of

reasonableness justifying preliminary approval.


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            D.     Notice

            Despite the Settling Parties’ protests to the contrary,

notice must be sent to the class members informing them of the

new settlement terms, providing them an opportunity to be heard

and, if they so choose, to opt-out.               This is not an issue of

interpretation of the court of appeals’ opinion in this matter

nor is it a simple procedural irregularity.             Rather, this is an

issue of due process.

            As the court of appeals noted, no class has been

properly    certified       in   this    case.      Therefore,     “[w]ithout

certification there is no class action, and in a settlement

entered without class certification the judgment will not have

res judicata effect on the absent class members.”                In re Cmty.

Bank, 418 F.3d at 302 (quoting In Re Gen. Motors Corp., 55 F.3d

at 800).    Further, “[i]n the class action context, the district

court obtains personal jurisdiction over the absentee class

members by providing proper notice of the impending class action

and providing the absentees with the opportunity to be heard or

the opportunity to exclude themselves from the class.”                 In re

Prudential Ins. Co. Am. Sales Practice Litig., 148 F.3d 283, 306

(3d Cir. 1998)(citation omitted).            The due process requirements

of the Fifth Amendment to the United States Constitution are

satisfied     by    “the    combination      of   reasonable     notice,   the


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opportunity to be heard and the opportunity to withdraw from the

class.”        Id.   The notice must be “reasonably calculated, under

all the circumstances, to apprise interested parties of the

pendency of the action and afford them the opportunity to present

their objections.”        Mullane v. Central Hanover Bank & Trust Co.,

339 U.S. 306, 314 (1950) (citations omitted).

               Rule 23(e)(1)(B) provides that this court “must direct

notice in a reasonable manner to all class members who would be

bound     by     a   proposed   settlement,   voluntary    dismissal      or

compromise.”         Fed.R.Civ.P. 23(e)(1)(B).    Notice of provisional

certification of a class action and preliminary approval of a

settlement may be combined but must satisfy Rule 23(c)(2). Fry v.

Hayt, Hayt & Landau, 198 F.R.D. 461, 474 (E.D. Pa. 2000).              Rule

23(c)(2) requires that, in a class certified pursuant to Rule

23(b)(3), “the best notice practicable under the circumstances,

including individual notice to all members who can be identified

through reasonable effort,” must be provided.                Fed.R.Civ.P.

23(c)(2).        The notice must inform the class members of the

pendency of the action, their right to opt-out, the effect of

their failure to do so and their right to appear through counsel.

Id.

               Here, it is clear that the Settling Parties’ argument

that the prior notice was sufficient is unreasonable.              The court


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of appeals vacated this court’s order upon which certification

was conditioned.        Thus, the prior notice informed the class of a

settlement which was never ultimately approved and, in light of

the new settlement, is no longer pending approval.                   The class has

never    received   notice      of    the   settlement       that    has    now    been

preliminarily approved.          Accordingly, the Settling Parties must

prepare and file a new notice plan in compliance with Rule 23,

within ten (10) days.        In order to be approved, the notice must

substantially conform to the notices proposed by the Federal

Judicial Center which are available at www.fjc.gov. Upon receipt

of   the   proposed     notice   plan,      the   Objectors,        and    any    other

interested party, will have the opportunity to be heard.

             E.   Appointment of Class Counsel

             Pursuant to Rule 23(g)(1)(B), “a court that certifies

a class must appoint class counsel.”               Fed.R.Civ.P. 23(g)(1)(B).

In appointing class counsel, the court must consider: (1) the

work    counsel   has    done    in    identifying      or    investigating        the

potential claims; (2) counsel’s experience in handling class

actions,    other     complex    litigation,      and    claims      of    the     type

asserted in the action; (3) counsel’s knowledge of the applicable

law; and (4) resources counsel will commit to representing the

class.     Fed.R.Civ.P. 23(g)(1)(c).




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            The    court    finds   that   Carlson    Lynch    LTD,    R.    Bruce

Carlson,    Gary    F.     Lynch,   Richardson,      Patrick,       Westbrook    &

Brickman, A. Hoyt Rowell, III and Daniel Myers are qualified to

“fairly and adequately represent the interests of the class” as

required    by    Rule    23(g)(1)(C).     Accordingly,       the    court    will

appoint Carlson Lynch LTD, R. Bruce Carlson, Gary F. Lynch,

Richardson, Patrick, Westbrook & Brickman, A. Hoyt Rowell, III

and Daniel Myers as class counsel.



            F.    Objectors’ Renewed Motion to Intervene

            Recently, the Objectors filed a motion styled “Motion

to Intervene (Renewed) by Rowena Drennan.” [Doc. No. 284].                      In

the motion, the Objectors argue that Mr. and Mrs. Drennan, whose

civil action asserting, inter alia, TILA/HOEPA claims is pending

in this court at Civil Action number 05-1386, and others are more

appropriate       class    representatives.          The   Objectors         seek,

therefore, to intervene as of right pursuant to Rule 24(a)(2)

and/or permissively pursuant to Rule 24(b)(2).             Fed.R.Civ.P. 24.4



     4
           The motion, filed on November 9, 2007, refers to
           the previous text of Rule 24 which was amended on
           December 1, 2007. The current Rule 24 made a
           number of organizational changes to the previous
           rule and now the Objectors motion for permissive
           intervention would be properly brought pursuant to
           Rule 24(b)(1)(B).


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            The court of appeals held that, in the context of class

action litigation, “the gravamen of a court’s analysis must be on

the timeliness of the motion to intervene and on the adequacy of

representation.”     In re Cmty. Bank, 418 F.3d at 314.       Timeliness,

the court of appeals observed, “is determined by the totality of

circumstances.”      Id. (citation omitted).        The court concluded

that “[t]he time frame in which a class member may file a motion

to intervene challenging the adequacy of class representation

must be at least as long as the time in which s/he may opt out of

the class.”     Id. (citation omitted).

            As noted above, the Objectors orally withdrew their

motion to intervene in November of 2005.        Although the court will

direct the Settling Parties to submit a revised notice plan and

provide the class with an additional period to opt out, under the

unique circumstances of this case, the Objectors renewed motion

is untimely.     The Objectors voluntarily withdrew their motion to

intervene two (2) years ago.       They have identified no persuasive

reason why they failed to pursue intervention in the interim

other than their dissatisfaction with the court’s rulings to

date.

            Even if this request were timely, it would be denied.

The court of appeals noted that, in class actions, where the

party seeking to intervene “has the same ultimate objective as a


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party to the suit, a presumption arises that its interests are

adequately represented ... .”            Id. at 315 (citation and internal

quotations omitted).          Thus, the court held, “[t]o overcome the

presumption of adequate representation, the proposed intervenor

must ordinarily demonstrate adversity of interest, collusion, or

nonfeasance on the part of a party to the suit.”                         Id. (citation

omitted).    There is no such evidence of record here.

            Further, the court of appeals directed this court to

“consider, based upon a full record, whether [the Objectors] have

met their burden of showing collusion warranting granting of

[the] motion to intervene.”             Id. at 315.          The court of appeals

cautioned, however, that “we are in no way suggesting that absent

class members who merely express dissatisfaction with specific

aspects of the proposed settlement or that attorneys (who, after

finding one or more class members as clients, and wish to share

in the forthcoming fee), have the right to intervene.”                             Id.

Based upon a full record, the Objectors have failed to establish

that the are entitled to intervene pursuant to Rule 24(a)(2).

Fed.R.Civ.P. 24(a)(2).

            The   Objectors      also      seek       to   permissively      intervene

pursuant    to    Rule    24(b)(1)(B).            A    request      to    permissively

intervene must be timely made.                Fed.R.Civ.P. 24(b)(1).              The

decision    whether      to   grant   or    deny       a   motion    for    permissive


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intervention is “highly discretionary.”        Brody v. Spang, 957 F.2d

1108, 1115 (3d Cir. 1992).       The court must consider “whether the

intervention will unduly delay or prejudice the adjudication of

the original parties’ rights.”           Fed.R.Civ.P. 24(b)(3).    Here,

granting the Objectors’ motion to intervene would substantially

delay the adjudication of this matter, especially in light of

their unilateral decision to withdraw this same motion two (2)

years ago.    Accordingly, the motion is denied.

       V.    CONCLUSION

       For the reasons set forth above, the Settling Parties’

Motion for Certification of a Settlement Class and Approval of

Proposed Modified Settlement [Doc. No. 225] will be granted in

part and denied in part.       The appropriate order follows.




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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF PENNSYLVANIA




IN RE:                                )
                                      )         MDL No. 1674
COMMUNITY BANK OF NORTHERN            )         Case No.
VIRGINIA AND GUARANTY BANK            )         03-425
SECOND MORTGAGE LITIGATION            )

                                    ORDER

         AND NOW, this 25th day of January, 2008, for the reasons

stated in the Memorandum filed concurrently, IT IS HEREBY

ORDERED THAT:

         (1) Class Certification.      Civil Action No. 03-425, styled

             In Re Community Bank of Northern Virginia and Guaranty

             National Bank of Tallahassee Second Mortgage Loan

             Litigation,    shall    be     maintained,   for   settlement

             purposes, as a class action pursuant to Rule 23 on

             behalf of the following class of plaintiffs:

             All persons:

             (I)   who entered into a loan agreement with CBNV
                   and/or GNBT;
             (ii) whose loan was secured by a second mortgage deed
                   or trust on property located in the United
                   States;
             (iii) whose loan was purchased by RFC; and
             (iv) who were not members of the class certified in
                   the action captioned Baxter v. Guaranty National
                   Bank, et al., Case No. 01-CVS-009168, in the
                   General Court of Justice, Superior Court
                   Division of Wake County, North Carolina.
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       (2) Class     Representatives;             Class        Counsel.           This

            conditionally      certified          class       action      shall       be

            maintained     with    Brian     and      Carla    Kessler,       Ruth    J.

            Davis, John and Rebecca Piccard, Nora Miller, William

            and   Ellen    Sabo,    Robert      and     Rebecca    Clark,      Edward

            Kruska, Russell and Kathleen Ulrich, Thomas Mathis,

            Stephen and Amy Haney and Patrice Porco as class

            representatives.          R.    Bruce       Carlson,       Gary    Lynch,

            Carlson Lynch LTD., and Daniel Myers, A. Hoyt Rowell,

            III, Richardson, Patrick, Westbrook & Brickman, LLC

            are designated counsel for the class.

       (3) This certification is conditioned on final approval of

            the settlement and, in the event the settlement is not

            approved, this certification shall be vacated.

       (4) Proposed       Settlement.           The    court     finds    that       the

            proposed       settlement           agreement        appears,         upon

            preliminary      review,       to    be     within    the     range      of

            reasonableness. Accordingly, the settlement agreement

            shall be submitted to the class members for their

            consideration.         The terms of the settlement provide

            that each participating class member will receive a

            minimum payment of $250.00.               These class members would

            also be eligible to receive, upon submission of a
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            Proof of Claim Form, an additional $634.00.            The

            maximum a class member could receive is $1,257.00.

       (5) Notice.    The parties are directed to submit a plan for

            notice within ten (10) days.           In order to obtain

            approval, the notice must substantially comply with

            the sample notices promulgated by the Federal Judicial

            Center and available at www.fjc.gov.

       (6) Upon receipt of the parties’ notice plan, the court

            will enter an order allowing all interested parties to

            comment on the notice.     If the notice is approved, the

            court will issue an order directing notice to be

            disseminated to the class, setting the date for the

            final fairness hearing, setting the date by which

            class members must opt-out of the class and setting

            the date by which objections must be received by the

            court.

       (7) The Objectors’ Motion to Intervene, Doc. No. 284, is

            DENIED.

                                     BY THE COURT:



                                     s/Gary L. Lancaster       , J.
                                     Hon. Gary L. Lancaster,
                                     United States District Judge


cc:    All Counsel of Record
